       Case 20-20453-CMB                        Doc 83        Filed 03/28/25 Entered 03/28/25 10:29:36                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              JOHN E. SHAFFER


     Debtor 2              MICHELLE R. SHAFFER
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-20453CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 LAKEVIEW LOAN SERVICING LLC                                                      19

 Last 4 digits of any number you use to identify the debtor's account                         7   2   7   4

 Property Address:                             619 CAMBRIA AVE
                                               AVONMORE PA 15618




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         410.64

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         410.64

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         410.64



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $736.95
         The next postpetition payment is due on                 4 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     JOHN E. SHAFFER                                                  Case number (if known) 20-20453CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    03/28/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     JOHN E. SHAFFER                                           Case number (if known) 20-20453CMB
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
12/22/2022 1254754      LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                        410.64
                                                                                                                  410.64

MORTGAGE REGULAR PAYMENT (Part 3)
06/26/2020   1163684    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR             2,110.44
07/29/2020   1166811    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               718.51
08/25/2020   1169885    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               589.74
09/28/2020   1172973    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               599.69
10/26/2020   1176062    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               769.58
11/24/2020   1179140    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               627.37
12/21/2020   1182095    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               651.32
01/13/2021   1179140    LAKEVIEW LOAN SERVICING LLC          CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-627.37
01/13/2021   1183570    LAKEVIEW LOAN SERVICING LLC          PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT627.37
01/25/2021   1185059    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               836.50
02/22/2021   1188175    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               683.50
03/26/2021   1191460    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               693.95
04/26/2021   1194723    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               877.00
05/25/2021   1197861    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               707.68
06/25/2021   1201039    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               712.03
07/26/2021   1204249    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               946.52
08/26/2021   1207372    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               759.94
09/24/2021   1210493    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               955.38
10/25/2021   1213570    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               762.44
11/22/2021   1216609    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               751.46
12/23/2021   1219666    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               751.64
01/26/2022   1222739    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR            1,002.06
02/23/2022   1225632    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               785.56
03/25/2022   1228578    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               623.65
04/26/2022   1231602    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR            1,233.07
05/25/2022   1234635    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               819.37
06/27/2022   1237659    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               815.54
07/26/2022   1240612    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR            1,016.27
08/24/2022   1243512    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               811.61
09/27/2022   1246375    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR            1,016.22
10/25/2022   1249207    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               797.09
11/23/2022   1251984    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               797.14
12/22/2022   1254754    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               797.84
01/26/2023   1257481    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               746.61
02/23/2023   1260110    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               872.57
03/28/2023   1262873    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
04/25/2023   1265695    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
05/25/2023   1268545    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
06/26/2023   1271446    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
07/25/2023   1274223    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
08/25/2023   1276993    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
09/26/2023   1279751    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
10/25/2023   1282463    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               778.10
11/27/2023   1285149    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
12/21/2023   1287742    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
01/26/2024   1290413    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
02/26/2024   1293088    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
03/26/2024   1295727    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
04/25/2024   1298382    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
05/29/2024   1301084    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
06/25/2024   1303636    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
07/25/2024   1306220    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
08/26/2024   1308806    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
09/25/2024   1311382    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
10/25/2024   1313921    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               792.21
11/25/2024   1316491    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               736.95
12/23/2024   1318901    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               736.95
01/28/2025   1321379    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               736.95
02/25/2025   1323813    LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR               736.95

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Debtor 1     JOHN E. SHAFFER                                        Case number (if known) 20-20453CMB
             Name




                                          Disbursement History

Date         Check #    Name                              Posting Type                                         Amount
                                                                                                             46,318.41




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

JOHN E. SHAFFER
MICHELLE R. SHAFFER
619 CAMBRIA AVENUE
AVONMORE, PA 15618

BRIAN C THOMPSON ESQ
THOMPSON LAW GROUP PC
301 SMITH DRIVE SUITE 6
CRANBERRY TOWNSHIP, PA 16066

LAKEVIEW LOAN SERVICING LLC
C/O M & T BANK
ATTN TRUSTEE PAYMENT CTR
PO BOX 1288
BUFFALO, NY 14240-1288

M & T BANK
PO BOX 840
BUFFALO, NY 14240

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




3/28/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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